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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

------------------------------------------------------ x
                                                       :
                                                       :   Chapter 11
In re:                                                 :
                                                       :   Case No. 18-12241 (CSS)
                                       1
MATTRESS FIRM, INC., et al.,                           :   (Jointly Administered)
                                                       :
                           Debtors.                    :   Hearing Date: October 29, 2018 at 10:00 a.m. (ET)
                                                       :   Objection Deadline: October 19, 2018 at 4:00 p.m. (ET)
                                                       :
                                                       :   Re: Docket No. 39
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   LIMITED OBJECTION AND RESERVATION OF RIGHTS OF R.S. SHOPPING
  CENTER ASSOCIATES LLLP TO DEBTORS’ SECOND OMNIBUS MOTION FOR
  ENTRY OF AN ORDER (I) AUTHORIZING DEBTORS TO (A) REJECT CERTAIN
     UNEXPIRED LEASES OF NONRESIDENTIAL REAL PROPERTY AND (B)
 ABANDON CERTAIN PERSONAL PROPERTY IN CONNECTION THEREWITH AND
                   (II) GRANTING RELATED RELIEF

          R.S. Shopping Center Associates LLLP (the “Landlord”) files this Limited Objection and

 Reservation of Rights to Debtors’ Second Omnibus Motion for Entry of Order (I) Authorizing

 Debtors to (A) Reject Certain Unexpired Leases of Nonresidential Real Property and (B)

 Abandon Certain Personal Property in Connection Therewith and (II) Granting Related Relief

 [Dkt. No. 39].

          Landlord is party to a prepetition shopping center lease with debtor Mattress Discounters

 Operations LLC for the lease of premises located at 1445 Rock Spring Road, Bel Air, Maryland

 21014. Under the terms of the Lease, fixed rent and other charges totaling at least $11,000 came

 due on or before October 1, 2018.

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   The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
 address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
 cases, for which the Debtors have requested joint administration, a complete list of the Debtors and the last four
 digits of their federal tax identification numbers is not provided herein. This information may be obtained on the
 website of the Debtors’ noticing and claims agent at http://dm.epiq.com/MattressFirm or by contacting counsel for
 the Debtors.

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         On October 5, 2018, the Debtors commenced their cases under chapter 11 of the

Bankruptcy Code and filed the motion. If the Court grants the motion, the Debtors would reject

the lease effective October 31, 2018. See Motion ¶ 7. However, in the interim, the Debtors will

continue to have access to the premises without paying October rent. As of the date hereof,

Landlord has not received payment for October rent.

         Landlord does not take a position whether this Court should authorize the Debtors to

reject the lease. However, Landlord seeks to ensure that it is not prejudiced with respect to its

unpaid October rent (which Landlord believes is separate from rejection damages arising under

sections 365 and 502 of the Bankruptcy Code).

           The Debtors were unwilling to provide this comfort in the Order and instead directed

counsel to the proposed Plan. While Landlord appreciates the potential recovery under the

proposed Plan, confirmation would not occur until at least November 16, 2018, which is after the

lease is rejected. Only at that point will Landlord have comfort that its claim for October rent—

assuming it is valid—would be paid in full.

         Therefore, Landlord expressly reserves its right to a claim for any unpaid rent including

the October rent and any other claim it may assert, including, without limitation, any contingent

or unliquidated rights that Landlord may have against the Debtors prior to and upon rejection and

requests that the Order approving any rejection clarify that this right is reserved. Landlord

further reserves the right to argue that unpaid post-petition rent, is entitled to administrative

expense priority under the Bankruptcy Code.




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Dated:      October 19, 2018            KLEHR HARRISON HARVEY BRANZBURG LLP

                                        By:     /s/ Richard M. Beck
                                              Richard M. Beck (DE Bar No. 3370)
                                              Sally E. Veghte (DE Bar No. 4762)
                                              919 Market Street, Suite 1000
                                              Wilmington, Delaware 19801
                                              Telephone: (302) 552-5501
                                              Facsimile: (302) 426-1189
                                              E-mail: rbeck@klehr.com
                                                        sveghte@klehr.com

                                              -and-

                                        ORRICK, HERRINGTON & SUTCLIFFE LLP
                                           Douglas S. Mintz
                                           Columbia Center
                                           1152 15th Street, N.W.
                                           Washington, D.C. 20005-1706
                                           Telephone: (202) 339-8518
                                           Facsimile: (202) 339-8500
                                           E-mail: dmintz@orrick.com

                                       Counsel for R.S. Shopping Center Associates LLLP




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